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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK                          X

                                                                  No.: ______________
 KADIAN NOBLE,

                                 Plaintiff,                  COMPLAINT AND DEMAND
                                                                FOR JURY TRIAL
            - vs -

 HARVEY WEINSTEIN, BOB WEINSTEIN, and THE
 WEINSTEIN COMPANY LLC,
                          Defendants.
 ____________________________________________ X


         Plaintiff, KADIAN NOBLE, by and through her undersigned counsel, hereby files this

Complaint and Demand for Jury Trial against Defendants HARVEY WEINSTEIN, BOB

WEINSTEIN, and THE WEINSTEIN COMPANY LLC, as follows:

                                        INTRODUCTION

         This is a civil action for damages under the Federal sex trafficking statute, 18 U.S.C.

§§1591, 1595, arising from Defendant HARVEY WEINSTEIN’s sexual assault of Plaintiff,

KADIAN NOBLE, in Cannes, France. HARVEY WEINSTEIN, travelling in foreign commerce,

recruited and enticed a young aspiring actress, Plaintiff KADIAN NOBLE, with the promise of a

film role, knowing that he would use means of force, fraud or coercion to cause her to engage in

a sex act in his hotel room. Defendants, BOB WEINSTEIN and THE WEINSTEIN COMPANY

LLC, participated in this venture of HARVEY WEINSTEIN, knowing, or in reckless disregard of

the fact, that he would use force, fraud or coercion to engage aspiring young actresses in sexual

activity.




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                                   PARTIES AND JURISDICTION

                   Plaintiff KADIAN NOBLE (hereinafter referred to as “KADIAN” or

“PLAINTIFF”) is sui juris and is a citizen and resident of the United Kingdom.

                   Defendant HARVEY WEINSTEIN is a citizen and resident of New York, New

York.

                   Defendant THE WEINSTEIN COMPANY LLC (hereinafter referred to as

“TWC”) is a Delaware limited liability company whose principal place of business is in New York,

New York.

                   Defendant BOB WEINSTEIN is a citizen and resident of New York, New York.

He is the co-founder and Chairman of TWC. Upon information and belief, BOB WEINSTEIN

owns 42% of the equity in TWC.

                   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 as this action

arises under the law of the United States.

                   This Court is “an appropriate district court of the United States” in accordance with

18 U.S.C. §1595.

                                     FACTUAL ALLEGATIONS

                   HARVEY WEINSTEIN is a renowned film producer who travels abroad and to

different states in the United States for his business, where he recruits, solicits and entices young

female actresses with promises of film roles and other financially beneficial entertainment projects.

This was a common practice of HARVEY WEINSTEIN, well-known to BOB WEINSTEIN and

TWC.




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                   TWC and BOB WEINSTEIN were aware that HARVEY WEINSTEIN engaged in

such conduct while he was abroad promoting TWC projects, and facilitated these trips for him.

BOB WEINSTEIN and TWC benefitted financially from HARVEY WEINSTEIN promoting

films on these trips.

                   HARVEY WEINSTEIN, TWC and BOB WEINSTEIN knew, or recklessly

disregarded the fact that, HARVEY WEINSTEIN used means of force, fraud or coercion to cause

young female actresses to whom he had promised film roles or entertainment projects to engage

in sex acts.

                   Prior to February, 2014, on a trip from the United States to London, HARVEY

WEINSTEIN groomed KADIAN by telling her that he had a role in mind for her and that “it will

be good for you”. HARVEY WEINSTEIN further introduced KADIAN to his executive assistant.

                   KADIAN’S contact with HARVEY WEINSTEIN was of tremendous significance

to the future of her acting career. HARVEY WEINSTEIN was a gatekeeper of enormous influence

in the entertainment industry, and had the power to advance her career exponentially through

auditions, readings, introductions and consideration for roles, in addition to roles in TWC projects.

                   HARVEY WEINSTEIN promised KADIAN the role in the TWC project and

further that he would use his influence to advance her acting career.

                   KADIAN visited HARVEY WEINSTEIN’s office in London and gave his

executive assistant her “reel”, i.e., a sample of her acting work, to forward to HARVEY

WEINSTEIN, per the executive assistant’s request.

                   In or about February, 2014, HARVEY WEINSTEIN approached KADIAN at Le

Majestic Hotel in Cannes, France. HARVEY WEINSTEIN asked KADIAN to come to his hotel




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room to review her reel with her and discuss further steps in securing the role he had previously

targeted for her.

                   KADIAN came to HARVEY WEINSTEIN’S hotel room. Once in the room,

HARVEY WEINSTEIN instructed KADIAN to have a seat on the couch.

                   HARVEY WEINSTEIN sat next to KADIAN on the couch and had her play him

her reel. HARVEY WEINSTEIN began massaging KADIAN and then gripped her shoulders. He

informed her that she needed to relax, and if she did, his people would have all of her details and

would “take care of everything” for her.

                   HARVEY WEINSTEIN then informed KADIAN that for “audition purposes” she

needed to walk up and down the room for him, for which she complied.

                   HARVEY WEINSTEIN then called an unnamed TWC producer in the United

States and put him on the phone with KADIAN. The TWC producer told KADIAN that she needed

to be “a good girl and do whatever he wished”, and if she did, then “they would work” with her

further.

                   HARVEY WEINSTEIN then pulled KADIAN closer and groped her breasts.

KADIAN resisted, exclaiming “No, Harvey, No!” However, at the same time KADIAN felt

compelled to comply because of the tangible and intangible benefits HARVEY WEINSTEIN

offered to advance her career, which she would receive from a favorable relationship with him.

                   HARVEY WEINSTEIN forcibly pulled KADIAN into the bathroom. He told

KADIAN to relax while he gripped her firmly. HARVEY WEINSTEIN then started to rub

KADIAN’s breast and buttocks.

                   KADIAN told him to stop and attempted to leave the bathroom, but HARVEY

WEINSTEIN blocked her exit.



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                   HARVEY WEINSTEIN then pulled down KADIAN’s shirt, revealing her breasts,

and unbuckled his pants and belt. Once again, KADIAN pleaded with him to stop.

                   HARVEY WEINSTEIN then forced his leg between KADIAN’s legs, began

rubbing her vagina, and then took his penis out and began masturbating. In a panic, KADIAN

again implored him to stop, and struggled against him physically, trying to escape the bathroom.

                   HARVEY WEINSTEIN then forcefully grabbed KADIAN’s hand, placed it on his

penis, and forced her hand to masturbate him. HARVEY WEINSTEIN used his other hand to

control KADIAN and defeat her resistance. HARVEY WEINSTEIN, once again, told her to relax

and “everything will be taken care of for you if you relax.”

                   HARVEY WEINSTEIN then ejaculated onto the bathroom floor.

                   As KADIAN left the room, HARVEY WEINSTEIN informed her that “his

people” will be in touch with her, which she understood to refer to the role he had promised and

other benefits offered.

                   As a direct and proximate result of the foregoing, KADIAN has suffered severe

injuries and emotional distress, pain and suffering, mental anguish, inconvenience, loss of capacity

for the enjoyment of life, inability to lead a normal life, shame and humiliation. Alternatively or

in addition, KADIAN sustained an aggravation of an existing condition or activation of a latent

condition and resulting damages. The injuries and damages are permanent and continuing in

nature.

                                              Count I
                                    Violation of 18 U.S.C. §1591
                                   Against HARVEY WEINSTEIN

                   Plaintiff repeats and realleges the allegations in paragraphs 1 through 27 above.




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                       “Knowingly – in or affecting interstate or foreign commerce…”

                   HARVEY WEINSTEIN, as he had done on many occasions, traveled for his

business to London, England, and Cannes, France, where he promised a film role to KADIAN.

                       “recruits, entices…or solicits by any means a person…”

                   HARVEY WEINSTEIN approached KADIAN in Cannes, brought her into his

hotel room, and assured her that he would provide her the role he discussed with her previously in

London, England.

         “knowing…that means of force, threats of force, fraud, coercion…or any combination
           of such means will be used to cause the person to engage in a commercial sex act”
         (commercial sex act is defined as any sex act, on account of which anything of value is
                                   given to or received by any person)

                   HARVEY WEINSTEIN knew that he would use fraud, physical force or coercion

(as he had done many times before to many other young aspiring actresses) on KADIAN for a

sexual encounter. He offered her a role, repeatedly telling her that if she “relaxes”, everything

would be taken care of for her.

                   HARVEY WEINSTEIN was well aware that a role in one of his projects, or the

exercise of his influence on her behalf in the entertainment business, was of significant commercial

value to KADIAN, and HARVEY WEINSTEIN used this promise of a role, or the prospective use

of his influence on her behalf, to recruit and entice KADIAN to his hotel room where he would

perform sex acts.

                   HARVEY WEINSTEIN’S offer of a film role, and the offer to use his influence on

her behalf, was successful in enticing and maintaining KADIAN in his hotel room. KADIAN felt

compelled to comply with HARVEY WEINSTEIN’S acts toward her because of the benefits she

would receive from his power and influence, including without limitation, a film role in an




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upcoming TWC project. HARVEY WEINSTEIN then used physical force to perform the sexual

act. This was a typical practice of HARVEY WEINSTEIN, as it was common for him to lure

young females into his room with a promise of a film role or entertainment project, and then force

or coerce them into a sexual encounter. HARVEY WEINSTEIN knew that the promise of a role

or the use of his influence on her behalf would entice KADIAN into his hotel room, and knew that

once there he was in a position to force the sexual activity he desired.

                   HARVEY WEINSTEIN was able to force or coerce KADIAN into sexual activity

in his hotel room because of his promise to her of a film role and use of his influence on her behalf.

                   HARVEY WEINSTEIN actively had no intention of following through with his

promise of a role in a TWC project. Instead, he used this ploy as a fraudulent means of obtaining

sexual gratification.

                   In sum, HARVEY WEINSTEIN traveled in foreign commerce, knowingly

recruiting or enticing KADIAN, offering her something of value, knowing that he would use this

offer as a means to defraud, force or coerce her into a sexual encounter. HARVEY WEINSTEIN

ultimately forced KADIAN into sexual acts.

         WHEREFORE, Plaintiff requests judgment for compensatory damages, reasonable

attorneys’ fees and punitive damages against Defendant HARVEY WEINSTEIN pursuant to 18

U.S.C. §1595 and applicable law, and such other and further relief as is just and proper.

                                              Count II
                      Participating in a Venture in Violation of 18 U.S.C. §1591
                            Against THE WEINSTEIN COMPANY LLC

                   Plaintiff repeats and realleges the allegations in paragraphs 1 through 36 above.




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                   TWC knowingly participated in HARVEY WEINSTEIN’s venture in violation of

18 U.S.C. §1591 by benefiting from, and knowingly facilitating, the venture in which HARVEY

WEINSTEIN traveled in foreign commerce to recruit or entice female actors into forced or

coerced sexual encounters on the promise of roles in films or entertainment projects.

                   TWC knew, or was in reckless disregard of the facts, that it was the practice of

HARVEY WEINSTEIN to travel in interstate and foreign commerce to entice or recruit young

female actors into defrauded, forced or coerced sexual acts based on the promise of participation

in upcoming entertainment projects or the use of his influence in their favor.

                   TWC had been privy to multiple claims in which such acts were alleged against

HARVEY WEINSTEIN, prior to February, 2014.

                   Despite such knowledge, TWC continued to pay for and facilitate these foreign

trips of HARVEY WEINSTEIN. Further, TWC employees aided the commercial sex acts by

facilitating the auditions and roles for these young female actors.

                   Upon information and belief, the code word among TWC employees “FOH”, meant

“Friend of Harvey”, and referred to a young woman who had participated in sex in exchange for a

role or position in an upcoming project. TWC employees knew to “take care” of the FOH’s.

                   Multiple TWC employees participated in the recruitment or enticement of

KADIAN into a victim of a commercial sex act. In an apparent attempt to entice KADIAN into

sex with HARVEY WEINSTEIN, an unnamed TWC producer told KADIAN that she needed to

be “a good girl and do whatever [he] wished”, and if she did, then “they will work with [her]

further.”

                   Another TWC employee and executive assistant to HARVEY WEINSTEIN spoke

with KADIAN and had her provide her reel to be forwarded to HARVEY in the scheme.



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                   These TWC employees benefitted from the venture. Upon information and belief,

in exchange for facilitating and covering up HARVEY WEINSTEIN’s commercial sex acts, the

TWC employees progressed in their careers at TWC and received financial benefits.

                   Upon information and belief, participating and covering up HARVEY

WEINSTEIN’s scheme was a means of obtaining success and growth within the hierarchy at WTC.

In other words, those who participated in the scheme received better assignments and

compensation.

                   TWC knowingly benefitted financially from the commercial sex act venture of

HARVEY WEINSTEIN, including the profits from the films HARVEY WEINSTEIN promoted

on his trips. By facilitating HARVEY WEINSTEIN’s commercial sex acts in foreign commerce,

TWC enjoyed the promotion and promulgation of TWC projects internationally. HARVEY

WEINSTEIN was the face of TWC and his presence and promotion in foreign commerce brought

exposure and prestige to TWC films. TWC facilitated HARVEY WEINSTEIN’s commercial sex

acts in foreign commerce to obtain the enormous publicity HARVEY WEINSTEIN garnered by

promoting TWC films internationally, which financially benefitted TWC.

          WHEREFORE, Plaintiff requests judgment for compensatory damages, reasonable

attorneys’ fees and punitive damages against Defendant THE WEINSTEIN COMPANY LLC

pursuant to 18 U.S.C. §1595 and applicable law, and such other and further relief as is just and

proper.

                                              Count III
                      Participating in a Venture in Violation of 18 U.S.C. §1591
                                      Against BOB WEINSTEIN

                   Plaintiff repeats and realleges the allegations in paragraphs 1 through 36 above.




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                   BOB WEINSTEIN knowingly participated in HARVEY WEINSTEIN’s venture

in violation of 18 U.S.C. §1591 by benefiting from, and knowingly facilitating, the venture in

which HARVEY WEINSTEIN travelled in foreign commerce to recruit or entice female actors,

knowing that he would use fraud, force or coercion for sex with these female actors.

                   Upon information and belief, by facilitating HARVEY WEINSTEIN’s commercial

sex acts in foreign commerce, BOB WEINSTEIN enjoyed the promotion and promulgation of

TWC projects internationally. HARVEY WEINSTEIN was the face of TWC and his presence

and promotion in foreign commerce brought exposure and prestige to TWC films.                 BOB

WEINSTEIN facilitated commercial sex acts in foreign commerce by HARVEY WEINSTEIN to

obtain the enormous publicity HARVEY WEINSTEIN garnered by promoting TWC films

internationally, which financially benefitted both TWC and BOB WEINSTEIN given his

substantial interest in TWC.

                   BOB WEINSTEIN knew, or was in reckless disregard of the facts, that it was the

pattern and practice of HARVEY WEINSTEIN to travel in interstate and foreign commerce to

entice or recruit solicit young female actors with the promise of roles in upcoming TWC projects

or use of his influence on their behalf, knowing that he would then use fraud, force or coercion to

engage in sex acts with these actors.

                   BOB WEINSTEIN has been privy to multiple claims in which such acts and

conduct were alleged against HARVEY WEINSTEIN, prior to February, 2014.

                   Despite such knowledge, BOB WEINSTEIN, as an executive of TWC, continued

to pay for and facilitate these foreign trips for HARVEY WEINSTEIN.




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                   BOB WEINSTEIN knowingly benefitted financially from the venture of HARVEY

WEINSTEIN in which he used fraud, force or coercion to cause young female actresses to engage

in commercial sex acts involving the promise of film roles or entertainment projects.

         WHEREFORE, Plaintiff requests judgment for compensatory damages, reasonable

attorneys’ fees and punitive damages against Defendant BOB WEINSTEIN pursuant to 18 U.S.C.

§1595, and such other and further relief as is just and proper.

                                   DEMAND FOR JURY TRIAL
         Plaintiff demands a trial by jury and all issues so triable as a matter of right.

Dated: Boca Raton, FL
       November 27, 2017                                 Respectfully submitted,

                                                         HERMAN LAW
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